Case 2:18-cv-09233-SDW-LDW Document 34 Filed 08/17/18 Page 1 of 13 PagelD: 952

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Attorneys for Plaintiff
Juul Labs, Inc.

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

JUUL LABS, INC.,
‘ Civil Action No. 18-9233
Plaintiff, ‘

“ ! CERTIFICATION OF SERVICE OF
KING DISTRIBUTION LLC, _ MAY 15,2018 ORDER TO SHOW CAUSE

XTRA SMOKE SHOP LLC,
FADI SALIM, and
JOHN DOES 1 — 50,

Defendants.

 

I, MONVAN HU, of full age, hereby declare as follows:

1. I am an associate of the law firm of Saiber LLC, counsel for the plaintiff, Juul
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Labs, Inc. (“Juul”). I have personal knowledge of the matters set forth herein.

2. I submit this Certification to attest to Juul’s efforts to effectuate service of the
redacted versions of its Order to Show Cause papers, this Court’s Order to Show Cause entered
May 15, 2018, my Certification Pursuant to the Order to Show Cause, Juul’s letter request, and
the Court’s May 17, 2018 Letter Order on Defendants, in compliance with the terms of the
Court’s May 15, 2018 Order to Show Cause and its May 17, 2018 Letter Order.

3. On May 16, 2018, I caused a process server to hand deliver and serve upon each
of the defendants a redacted version of all the Order to Show Cause papers including the Order
to Show Cause, at the following addresses:

King Distribution LLC
356 Getty Ave — Bldg 6
Clifton, New Jersey 07011
Xtra Smoke Shop LLC
1090 Main Street, Store 104
Paterson, New Jersey, 07503
Fadi Salim

48 Continental Circle
Totowa, New Jersey, 07512

281 Route 46 West
Elmwood Park, New Jersey 07407
4. On May 16, 2018, at or around 3:35 PM, the process server indicated that it had
served the Order to Show Cause papers on King Distribution LLC, and the papers were accepted
by John Kalousie. (See Exhibit A)
3. On May 16, 2018, at or around 3:47 PM, the process server indicated that it had

served the Order to Show Cause papers on Xtra Smoke Shop LLC, and the papers were accepted

by Ahid Nasrala. (See Exhibit B)
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6. On May 16, 2018, at or around 2:59 PM, the process server indicated that it had
attempted to deliver the Order to Show Cause papers on Fadi Salim at 281 Route 46 West in
Elmwood Park, New Jersey, but the business at that location had no knowledge of Mr. Salim.
(See Exhibit C). At or around 4:22 PM, the process server indicated that it had attempted to
deliver the Order to Show Cause papers on Mr. Salim at 48 Continental Circle in Totowa, New
Jersey, but the security guard informed the server that Mr. Salim was no longer at that location.
(See Exhibit C). I thereafter directed the process server to attempt service on Mr. Salim at the
locations of King Distribution LLC and/or Xtra Smoke Shop LLC.

F. On May 17, 2018, at or around 4:17 PM, the process server indicated that it had
served Mr. Salim at the business address of King Distribution LLC. (See Exhibit C).

8. On May 16, 2018, I also mailed a redacted version of all the Order to Show Cause
papers including the Order to Show Cause by Federal Express to each of the defendants to the
following addresses:

King Distribution LLC
356 Getty Ave — Bldg 6
Clifton, New Jersey 07011
Xtra Smoke Shop LLC
1090 Main Street, Store 104
Paterson, New Jersey, 07503
Fadi Salim
48 Continental Circle
Totowa, New Jersey, 07512
&
281 Route 46 West
Elmwood Park, New Jersey 07407
9, On May 17, 2018, I was informed that Mr. Salim had another address in Butler,

New Jersey. 1 therefore mailed Mr. Salim a redacted version of all the Order to Show Cause
Case 2:18-cv-09233-SDW-LDW Document 34 Filed 08/17/18 Page 4 of 13 PagelD: 955

papers including the Order to Show Cause by Federal Express to the following address:
Fadi Salim
75 Roosevelt Avenue
Butler, NJ 07405
I declare under penalty of perjury, pursuant to the laws of the United States of America,
that the foregoing statements are true and correct to the best of my knowledge and belief.
gr Ba: ZR

MONVAN HU

 
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EXHIBIT A

 
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UNITED STATES DISTRICT

eM Ss

DOCKET NO. 18-9233(SDW)

Plaintiff
JUUL LABS INC.,
Defendant “
KING DISTRIBUTION LLC, ET AL.,

AFFIDAVIT OF SERVICE

(for use by Private Service)
Person to be served: KING DISTRIBUTION LLC

Cost of Service pursuant to R4:4-30

Address:
356 GETTY AVE. $
BUILDING 6
CLIFTON NJ 07011

 

Attorney:
SAIBER LLC
ONE GATEWAY CENTER 10TH FLOOR, SUITE 1000
NEWARK NJ 07402

Papers Served:
ORDER TO SHOW CAUSE; MAY 16, 2018 LETTER TO THE COURT; CERTIFICATION PURSUANT TO THE ORDER TO SHOW CAUSE; CIVIL COVER SHEET; BLANK ORDER

TO SHOW CAUSE; VERIFIED COMPLAINT, WITH EXHIBITS; BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION, WITH EXHIBITS; DECLARATION OF
DENNIES VARUGHESE; CORPORATE DISCLOSURE STATEMENT; DECLARATION OF NOTICE OF ORDER TO SHOW CAUSE

Service Data:
Not Served __—SOséODattto: Siok « me: 2: D9 prt Attempts:

Delivered a copy to him/her personally Name of Person Served and relationship/title

Left a copy with a competent household ml Onn Kal ous ie

member over 14 years of age residing therein at place of abode.
SH wah a copy with a person authorized to accept ~
service, 6.g. managing agent, registered agent, etc. Vresi

Description of Person Accepting Service:

10 Height: 5 'f* Weight: [70 Hair: bad Sex: vl Race: Cane

Non-Served:

Served Successfully

 

 

 

 

(_ ) Defendant is unknown at the address furnished by the attorney

( } All reasonable inquiries suggest defendant moved to an undetermined address
{ ) No such street in municipality

( ) No response on: Date Time

Date Time
Date Time

( } Other: Comments or Remarks

  
  
 

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Notary Signature Date
ANGELA ILARIA
NOTARY PUBLIC OF NEW JERSEY
My Commission Expires 4/14/2024 DGR - THE SOURCE FOR LEGAL SUPPORT Work OrderNo. 394097
. : 1359 Littleton Road, Morris Plains, NJ 07950-3000

a (973) 403-1700 Fax (973) 403-9222 File: 18223550)
Case 2:18-cv-09233-SDW-LDW ‘Document 34 Filed 08/17/18 Page 7 of 13 PagelD: 958

J

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

JUUL LABS, INC., Civil Action Now: / ye 933 3

Plaintiff, ORDER TO SHOW CAUSE WHY A
PRELIMINARY INJUNCTION
ve SHOULD NOT ISSUE
KING DISTRIBUTION LLC,
ATRA SMOKE SHOP LLC,

FADI SALIM, and
JOHN DOEs | — 50,

Defendants.

 

 

THIS MATTER having been brought before the Court by Saiber LLC and Steme, Kessler,
Goldstein & Fox P.L.L.C., attorneys for plaintiff Juul Labs, Inc. (“Jtm!”) pursuant to Federal Rule of
Civil Procedure 65(a) and Local Rule 65,1, for an Order to Show Cause why a preliminary injunction
should not issue against defendants King Distribudlon LLC (“King”), Xtra Smoke Shop LLC (“Xtra
Smoke Shop”), Fadi Salim (“Salim”), and JOHN DOEs | — 50 (collectively, “Defendants”), and why
the relief demanded in the Verified Complaint should not be granted.

The Court having reviewed the Verified Complaint, the Declarations of Joanna Engelke,
ee ond Charles Robbins with exhibits attached thereto, and Brief submitied in
support hereof; and it appearing that Juul has suffered irreparable harm and injury; and to prevent
any further irreparable injury that will result (o Juul and the general public if the restraints requested
herein are not issued prior to the return date of the Order to Show Cause; and it further appearing that
the matter presented herein is of a sufficiently emergent nature to justify the entry of the within Order
and that this application is properly addressed by Order to Show Cause rather than by eiie and it

further appearing that advance notice of this application was provided to the Defendants and
Case 2:18-cv-09233-SDW-LDW Document 34 Filed 08/17/18 Page 8 of 13 PagelD: 959

EXHIBIT B
Case 2:18-cv-09233-SDW-LDW Document 34 Filed 08/17/18. Page 9 of 13 PagelD: 960

UNITED STATES DISTRICT

ANAT YU ae meron
=o 44° O° OD NEW JERSEY

os DOCKET NO. 18-9233(SDW)

Plaintiff
JUUL LABS INC.,

Defendant
KING DISTRIBUTION LLC, ET AL.,
AFFIDAVIT OF SERVICE

(for use by Private Service)
Person to be served: XTRA SMOKE SHOP LLC
Cost of Service pursuant to R4:4-30
Address:
4090 MAIN ST. $
STORE 104
PATERSON NJ 07503 -

Attorney:
SAIBER LLC
ONE GATEWAY CENTER 10TH FLOOR, SUITE 1000

NEWARK NJ 07102

Papers Served:
ORDER TO SHOW CAUSE; MAY 16, 2018 LETTER TO THE COURT; CERTIFICATION PURSUANT TO THE ORDER TO SHOW CAUSE; CIVIL COVER SHEET; BLANK ORDER

TO SHOW CAUSE; VERIFIED COMPLAINT, WITH EXHIBITS; BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION, WITH EXHIBITS; DECLARATION OF
DENNIES VARUGHESE; CORPORATE DISCLOSURE STATEMENT; DECLARATION OF NOTICE OF ORDER TO SHOW CAUSE

Service Data:
8
Served Successfully a NotServed _———s—C+$;:s=séO@D ante: 5] if Time: 3:4 lom Attempts:

Delivered a copy to him/her personally Name of Person Served and relationshipjtitle

xy ‘
Left a copy with a competent household Aid. Nasral I A

member over 14 years of age residing therein at place of abode.

Left a copy with a person authorized to accept MANAGING AGENT

service, ¢.g. managing agent, registered agent, etc.

 

 

 

Description of Person Accepting Service:
Age: 4 uf Height: oy ‘ Weight: /9F Halr: Ale. Sex: m Race: m/e

Non-Served:

( } Defendant is unknown at the address furnished by the attorney
( ) All reasonable inquiries suggest defendant moved to an undetermined address
{ ) No such street in municipality

{ ) No response on: Date Time
Date Time
Date Time
( ) Other: Comments or Remarks

 

 

l, = 0 e\ Sanchez , Was at
Subse¢pibed and Swor to Ay this Vi time of service a competent adult not having a direct
day of My 2O Interest in the litigation. | declare under penalty

of perjury that the foregoing is true and correct.

 

 

 

 

, se
L197 1 2
eZ Jl 71 TO
jotary Signature Signature of Process Server Date
ANGELA ILARIA
NOTARY PUBLICOFNEWJERSEY -
My Commission Expires 4/14/2021 : _ ...,... IDGR - THE SOURCE FOR LEGAL SUPPORT Work OrderNo. 394100

a4.

1359 Littleton Road, Morris Plains, NJ 07950-3000 .
(973) 403-1700 Fax (973) 403-9222 File No. 18-9233(SDW)
Case 2:18-cv-09233-SDW-LDW. Document 34 .. Filed 08/17/18 Page 10 of:13 PagelD: 961

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UNITED STATES DISTRICT COURT C (/ Pgs
FOR THE DISTRICT OF NEW JERSEY Sf fil o
7 i / f
JUUL LABS, INC., Civil Action No.: {X= GAAS Og
Plaintiff, ORDER TO SHOW CAUSE WHY A
PRELIMINARY INJUNCTION
v. SHOULD NOT ISSUE
KING DISTRIBUTION LLC,
XTRA SMOKE SHOP LLC,
FADI SALIM, and
JOHN DOEs | — 50,
Defendants.

 

 

THIS MATTER having been brought before the Court by Saiber LLC and Stee, Kessler,
Goldstein & Fox P_L_L.C., attorneys for plaintiff Juul Labs, Inc. (“Jun”) pursuant to Federal Rule of
Civil Procedure 65(a) and Local Rule 65.1, for an Order to Show Cause why a preliminary injunction
should not issue against defendants King Distéibotion LLC (“King”), Xtra Smoke Shop LLC (“Xtra
Smoke Shop”), Fadi Salim (“Salim”), and JOHN DOEs | - 50 (collectively, “Defendants”), and why
the relief demanded in the Verified Complaint should not be granted. .

The Court having reviewed the Verified Complaint, the Declarations of Joanna Engelke,

Laltaret iets and Charles Robbins with exhibits attached thereto, and Brief submitted in
support hereof; and it appearing that Juul has suffered irreparable harm and injury; and to prevent

3 any further irreparable injury that will result to Juul and the general public if the restraints requested
herein are not issued prior to the return date of the Order to Show Cause; and it further appearing that

the matter presented herein is of a sufficiently emergent nature to justify the entry of the within Order

and thal this application is properly addressed by Order to Show Cause rather than by motion: and it

 
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EXHIBIT C

 
Case 2:18-cv-09233-SDW-LDW Document 34 Filed 08/17/18 Page 12 of 13 PagelD: 963

 

Monvan Hu

From: DGR Notification <donotreply@dgrlegal.com>

Sent: Friday, May 18, 2018 4:26 PM

To: Monvan Hu

Subject: DGR 394228 Legal Status Update for: 18-9233(SDW) FADI SALIM

Thank you for choosing DGR - The Legal Support Solution!

Your assignment has been updated.

** THIS IS AN AUTOMATED NOTIFICATION; DO NOT REPLY TO THIS EMAIL. ** Please forward or send any requests or
changes to Service@dgrlegal.com

Client: SAIBER LLC

Contact: MONVAN HU

Invoice #: 394228

File No: 18-9233(SDW)

Case No: 18-9233(SDW)

Case Name: JUUL LABS VS. KING DISTRIBUTION

Process Server: JOEL SANCHEZ

Documents:

ORDER TO SHOW CAUSE; MAY 16, 2018 LETTER TO THE COURT; CERTIFICATION PURSUANT TO THE ORDER TO SHOW
CAUSE; CIVIL COVER SHEET; BLANK ORDER TO SHOW CAUSE; VERIFIED COMPLAINT, WITH EXHIBITS; BRIEF IN SUPPORT
OF MOTION FOR PRELIMINARY INJUNCTION, WITH EXHIBITS; DECLARATION OF DENNIES VARUGHESE; CORPORATE
DISCLOSURE STATEMENT; DECLARATION OF NOTICE OF ORDER TO SHOW CAUSE JUUL LABS INC., KING DISTRIBUTION
LLC, ET AL.,

Subject: FADI SALIM

Service address(es):

- SERVED AT:

XTRA SMOKE SHOP LLC KING DISTRIBUTION LLC
1090 MAIN ST., STORE 104 356 GETTY AVE., BLDG 6
PATERSON NJ 07503 CLIFTON NJ 07011

Status:

05/17/18 12:22 PM SUBJECT IS NOT IN AT THIS TIME AT 356 GETTY
AVENUE. MALE MANAGER STATED TO COME BACK IN
ABOUT AN HOUR.
WILL CONTINUE TO ATTEMPT SERVICE.

05/17/18 12:36 PM SUBJECT IS NOT IN AT THIS TIME AT 1090 MAIN
STREET.
THE MANAGER STATED THE SUBJECT ALREADY
Case 2:18-cv-09233-SDW-LDW Document 34 Filed 08/17/18 Page 13 of 13 PagelD: 964

RECEIVED THE DOCUMENTS.
WILL CONTINUE TO ATTEMPT SERVICE.
05/17/18 4:36 PM NO ANSWER AT THIS TIME TO THE WAREHOUSE DOOR
AT 356 GETTY AVENUE.
WILL CONTINUE TO ATTEMPT SERVICE.
05/18/18 4:17 PM SERVED PERSONALLY.
SERVICE WAS MADE AT: KING DISTRIBUTION LLC,
356 GETTY AVENUE, BUILDING 6, CLIFTON, NJ.

This is an automated notification; do not reply to this email.
Notifications are only generated weekdays between the hours of

8 am and 6 pm.

If you have any questions or comments, call (973) 403-1700 for a live customer service representative.
